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Case: 1:15-Cv-08458 Document #: 23 Filed: 10/06/16 Page 1 of 21 PagelD #:54

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UNITED STATES [}ISTRICT COURT
NORTHERN DlSTRICT OF ILLINOIS
EASTERN DIVISION

_RoBEi$i l>. BARMES

 

 

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CaseNo: ]: 15 '“' C»\/" Dgl'l|§$

vs.
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(Enter above the full name of`ALL THOMAS G. BRUTON
defendants in this action. Do not CLERK, U.S. DlSTRlCT COURT
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l/ COMPLAINT UNDER THE CIVIL RIGHTS ACT, TlTLE 42 SECTION 1983
U.S. Code (stale, county, or municipal defendants)

COMPLAINT UNDER TI-IE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (t`ederal defendants)

OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING. " FOLLOW THESE INSTRUCTIONS CAREFULL}’.

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Case: 1:15-Cv-08458 Document #: 23 Filed: 10/06/16 Page 3 of 21 PagelD #:56

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Case: 1:15-cv-08458 Document #: 23 Filed: 10/06/16 Page 4 of 21 PagelD #:57

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Plaintiff(s):

Name: RCBE lZT D¢ BARME 3
Lisl all aliases: NO NE

Prisoner identification number: 20 i.[)-OBO 5 2/(1£(1[

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(|fthere is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of continement, and current address according to the above format on a
separate sheet of paper.)

Defendant(s):

(In A below, place the full name ofthe first defendant in the first blank, his or her official
position in the second blank._ and his or her place of employment in the third blank. Space-
for two additional defendants is provided in B and C.)

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(|f you have more than three defendants._ then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

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Case: 1:15-cv-08458 Document #: 23 Filed: 10/06/16 Page 5 of 21 PagelD #:58

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Case: 1:15-Cv-08458 Document #: 23 Filed: 10/06/16 Page 6 of 21 Page|D #:59

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II]. List ALL lawsuits you (and your co-plaintiffs, ifany) have filed in any state or federal
court in the United States:

A. Name of case and docket number: N`IA*

 

B. Approximate date Oftiling lawsuit: )\/(/A-

C. Lisl all plaintiffs (ifyou had co-plaintit`f`s), including any aliases: NO/VE,'_

 

 

 

 

 

 

 

 

D. usc all derendams: f\;/¢i
E. Court in which the lawsuit was filed (it`federal court, name the district; ifstate court,
name the counly): N;(/A~

F. Name ofj udge to whom case was assigned: /\/¢/A‘

 

 

 

 

G. Basic claim made: A§/A
H. Disposition of this case (for example: Was the case dismissed? Was it appealed?
ls it Still pending?): NONE

 

 

 

I. Approximate date of` disposition: Ai/fi'

IF YOU HAVE FILEI) MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUlTS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FlLLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO S() MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINT].FFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

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Case: 1:15-Cv-08458 Document #: 23 Filed: 10/06/16 Page 7 of 21 Page|D #:60

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IV. Statement of Claim:
Statc here as briefly as possible the f`acts of your case. Describe how each defendant is
involvcd, including names, dates. and places Do not give any legal arguments or cite any
cases or statutes. Ifyou intend to allege a number of related claims_. number and set forth

each claim in a separate paragraph (Usc as much space as you need. Attach extra sheets
ifnecessary.)

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V. Relief:

State brieny exactly what you want the court to do for you. Make no legal arguments Cite
no cases or statutesl

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CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
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subject to sanctions by the Court.

Signed this § day of s (BRFQI,Z
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(Signature of plaintiff or plaintiffs)

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UNITED STATES DISTRICT COURT
FOR THE Northern District of lllinois - CM/ECF LIVE, Ver 6.| .1
Eastern Division

Robert D. Bames
Plaintiff,
v. Case No.: l:lS~cv-08458
Honorable Edmond E. Chang
City of` Chicago, et al.
Defendant.

 

NOTIFICATION OF DOCKET ENTRY

This docket entry was made by the Clerl< on Thursday, October 6, 2016:

MINUTE entry before the Honorable Edmond E. Chang: Status hearing held.
Incarcerated pro se Plaintiff appeared by telephone. Defense counsel reported that
Plaintiff mailed his amended complaint and the completed USM-ZBS forms to the City of
Chicago‘s Law Department. Defense counsel will have the documents delivered to the
Court's courtroom deputy for filing with the Clerk's Office and for transmittal of the 2855
to the Marshals Service. Defense counsel and Plaintiff reported on the status of Plaintiff‘s
state criminal case: Plaintift` stated that he will be firing his attorney and going pro se.
Because pursuit of this case would still interfere with the criminal prosecution, which
arises out of the very arrest at issue here, the stay in this action remains in place except for
screening of the amended complaint and to serve the individual Dcfendants. Status
hearing set for l 1/17/2016 at 10:00 a.m. Def`cnse counsel shall arrange for Plaintiff‘s
telephonic appearance. Emailed and mailed notice(slb, )

ATTENTION: This notice is being sent pursuant to Ru|e 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. lt was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. lf` a minute order or other document is enclosed, please
refer to it for additional information

For scheduled events, motion practices, recent opinions and other information, visit our
Web site at www.ilnd.uscour£s.gov.

 
   

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